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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

___________________________________
                                    )
                                    )
UNITED STATES OF AMERICA            )
                                    )
v.                                  )                                 No. 19-10080-NMG
                                    )
DAVID SIDOO et al.,                 )
            Defendants              )
                                    )
___________________________________ )

    DEFENDANT ROBERT ZANGRILLO’S MOTION TO PERMIT SPECIFIC AND
    LIMITED INTERNATIONAL BUSINESS TRAVEL TO MONTREAL CANADA

       Now comes the defendant Robert Zangrillo, by and through undersigned counsel, and

hereby respectfully moves this Honorable Court to permit him to attend business and investment-

related meetings from June 5 through June 10 of this year in Montreal, Canada. Certain of these

meetings were scheduled based on business affairs underway prior to his first appearance in

March of 2019.

       On March 29, 2019, Mr. Zangrillo appeared in this Court in response to a complaint

charging him with one count of conspiracy to commit mail fraud and honest services mail fraud.

The Court released Mr. Zangrillo on the $500,000 bond that had been previously set in the

Southern District of Florida and set conditions that required that Mr. Zangrillo to surrender his

passport to pretrial services which he has already done and to restrict his travel to the United

States with leave to seek international travel for business reasons at the discretion of the Court.

United States v. Zangrillo, No. 19-MJ-06087-MPK (DKT 268). On April 9, 2019 Mr. Zangrillo

along with others was the subject of a two-count Superseding Indictment in the above-captioned


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matter.

          For the past five years, Mr. Zangrillo has been employed by a private investment firm,

Dragon Global, which has focused on venture capital and real estate investments that are

frequently made through separate partnership entities. Mr. Zangrillo is currently involved in

meetings with current and potential future investors and investment partners who reside and/or

own businesses located in Canada, and in seeking investment opportunities some of which

involve international companies that are either established in or considering expanding into

Canada. More generally, Mr. Zangrillo, having received financing from investors in his venture

capital company, has the obligation to do due diligence on behalf of his investor partners by

personally visiting companies which have received financing from Dragon Global or a related

entity, to provide guidance to certain of these companies, and to seek new investment

opportunities some of which are with companies already doing or seeking to do significant

business in Canada. The proposed planned trip to Canada involves meetings with a large

current Dragon Global investor and negotiations to invest in at least two such companies. Mr.

Zangrillo’s personal attendance at these meetings is expected by his investors and is necessary to

the continued success of his venture capital business.

          Mr. Zangrillo does not present any flight or dangerousness risk. He has lived in the

Miami area since 2010 and currently owns a home in Miami Beach. Mr. Zangrillo is fifty-two

years old, has three daughters, has had no prior convictions and no interactions with the criminal

justice system for more than thirty years, has elderly parents both living in Connecticut, has

retained the undersigned and additional co-counsel to contest the current allegations, and is fully

aware of his obligations, if this business trip is allowed, to remain at all times accessible to


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Pretrial Services, to report to Pretrial Services on his specific whereabouts by providing an

itinerary of his flights and the specific hotel that he will be staying while in Canada, and to abide

by whatever other conditions are set by this Honorable Court. Mr. Zangrillo recently

successfully completed a court-approved business trip to Mexico, returning his passport to

Pretrial Services as required, and further demonstrating his ability and intention to comply with

his conditions of release.

        Mr. Zangrillo would request leave, if necessary, to advise the Court of the specific

identity of the investors and business meetings he has scheduled and the specific investment

opportunities he is doing due diligence on in Canada Under Seal.

        For the foregoing reasons, Mr. Zangrillo respectfully requests that he be permitted to

attend business meetings and the review of business opportunities in Montreal, Canada between

June 5 and June 10, 2019. Before doing so, he would need to re-acquire his passport; after doing

so, he will return his passport to pre-trial services.

        WHEREFORE, the defendant respectfully requests that the instant motion be allowed.

                                 Local Rule 7.1(a)(2) Certification

        The undersigned counsel conferred with counsel for the Government and the

Government takes no position regarding this motion. Additionally, counsel has communicated

with the defendant’s pretrial services officer in Massachusetts who states that Mr. Zangrillo has

been in compliance with his release conditions and that they support the allowing of this motion.




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                                                     Respectfully submitted,

                                                     Robert Zangrillo
                                                     By his Attorney,

                                                     /s/ Martin G. Weinberg
                                                     Martin G. Weinberg
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Dated: May 1, 2019


                                CERTIFICATE OF SERVICE

        I, Martin G. Weinberg, hereby certify that on this date, May 1, 2019, a copy of the
foregoing document has been served via Electronic Court Filing system on all registered
participants.

                                                     /s/ Martin G. Weinberg
                                                     Martin G. Weinberg




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